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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

JUDITH E. HALLAM, OBO                           §
JEREMY N. BROWN,                                §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §    Civil Action No. 4:20-cv-00700-O-BP
                                                §
WHITE SETTLEMENT POLICE                         §
DEPARTMENT,                                     §
                                                §
       Defendant.                               §

                FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE

       In this case, Plaintiff, Judith E. Hallam, proceeds pro se “on behalf of” Jeremy N. Brown

and asserts that she is his “mother and caregiver and personal assistant.” ECF No. 1 at 2. Ms.

Hallam also apparently serves as his attorney-in-fact, according to the durable power of attorney

she attached to the Complaint. Id. at 15. The case was automatically referred to the undersigned

pursuant to Special Order No. 3 on July 7, 2020. ECF No. 3.

       On July 29, 2020, the undersigned entered an Order notifying Ms. Hallam that she could

not proceed pro se in this case on behalf of Mr. Brown. ECF No. 5 at 2. The undersigned ordered

Mr. Brown to obtain representation by a duly licensed and qualified attorney to prosecute this case

on or before August 28, 2020, and ordering such attorney to file an entry of appearance by that

date, or to file a pleading indicating that he is proceeding pro se and intends to represent himself

in this case. Id. Alternatively, the undersigned ordered Ms. Hallam on or before August 28, 2020

to obtain representation by an attorney to represent her as next friend of Mr. Brown, and ordering

such attorney to file an entry of appearance by that date, or to file a motion suggesting that a

necessity exists for the appointment of a guardian for Mr. Brown under Rule 17(c) of the Federal
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Rules of Civil Procedure. Id. Finally, the Order cautioned “Ms. Hallam and Mr. Brown that failure

to comply with this Order will result in the undersigned’s recommendation that this case be

dismissed pursuant to Federal Rule of Civil Procedure 41(b) for failure to prosecute or to comply

with the Court’s Order.” Id. As of this date, neither Mr. Brown nor Ms. Hallam has taken the steps

necessary to comply with the Court’s Order.

       The Court ordered Ms. Hallam and Mr. Brown to take specific action to proceed in this

case and warned them that failure to do so might result in the undersigned’s recommending that

the case be dismissed for failure to prosecute or to comply with the Court’s Order under Federal

Rule of Civil Procedure 41(b). Mr. Brown and Ms. Hallam did not comply with the Court’s Order.

Under these circumstances, Plaintiff’s Complaint should be dismissed.

       Accordingly, the undersigned RECOMMENDS that United States District Judge Reed

O’Connor DISMISS Plaintiff’s Complaint WITHOUT PREJUDICE pursuant to Federal Rule

of Civil Procedure 41(b) for failure to prosecute or to comply with court orders.

       A copy of this Findings, Conclusions, and Recommendation shall be served on all parties

in the manner provided by law. Any party who objects to any part of this Findings, Conclusions,

and Recommendation must file specific written objections within 14 days after being served with

a copy. See 28 U.S.C. § 636(b)(1)(B) and Fed. R. Civ. P. 72(b)(1). In order to be specific, an

objection must identify the specific finding or recommendation to which objection is made, state

the basis for the objection, and specify the place in the magistrate judge’s findings, conclusions,

and recommendation where the disputed determination is found. An objection that merely

incorporates by reference or refers to the briefing before the magistrate judge is not specific.

Failure to file specific written objections will bar the aggrieved party from appealing the factual

findings and legal conclusions of the magistrate judge that are accepted or adopted by the district

court, except upon grounds of plain error. See Douglass v. United Services Auto. Ass’n, 79 F.3d
                                                2
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1415, 1417 (5th Cir. 1996) (en banc).

       SIGNED September 14, 2020.



                                        ______________________________________
                                        Hal R. Ray, Jr.
                                        UNITED STATES MAGISTRATE JUDGE




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